  Case: 4:20-cv-01227-JAR Doc. #: 111-2 Filed: 08/01/22 Page: 1 of 1 PageID #: 3897
                                     DEPARTMENT OF THE ARMY
                         U.S. ARMY CORPS OF ENGINEERS, ST. LOUIS DISTRICT
                                   114 James S. McDonnell Boulevard
                                       Hazelwood, MO 63042-3102

      REPLY TO                         January 27, 2022
      ATTENTION OF:


Formerly Utilized Sites Remedial Action Program (FUSRAP)

SUBJECT: Status of property located at Jana Elementary 405 Jana Drive Florissant, MO 63031
(CWC-386)

Dr. Nettie Collins-Hart - Superintendent
Hazelwood School District
15955 New Halls Ferry Road
Florissant, MO 63031

Dear Dr. Collins-Hart:

   The U.S. Army Corps of Engineers (USACE), St. Louis District is conducting a cleanup
program for the North St. Louis County sites under the Formerly Utilized Sites Remedial Action
Program (FUSRAP). The sites contain soils primarily contaminated with low-level radioactive
residues as a result of activities associated with the Manhattan Engineer District/Atomic Energy
Commission (MED/AEC).

   The USACE conducted sampling on Jana School property. The USACE numbered each
property adjacent to CWC. The property located at 405 Jana Drive is identified as CWC-386. The
results show the presence of low-level radioactive contamination on this property located in the
banks of Coldwater Creek within the property boundary.

    The contamination does not pose an immediate risk to human health or the environment in its
current configuration below ground surface. USACE discourages owners from digging in affected
areas. If you are planning any work that would disturb the soil in this area, please notify us. We
will provide support for this work.

   Attached to this letter is a figure of the property (CWC-386). The red triangles indicate that
contamination was found in the creek banks within the property boundary.

    We are happy to meet with you to answer any questions you may have regarding the status of
this property. Due to the Covid-19 concerns, the FUSRAP team can meet with you via a
conference call.

  In order to protect your privacy, the USACE will not announce publicly the property owner
names and addresses of the properties where contamination was found.

  If you have any questions or require additional information, please email me at
STLFUSRAP@usace.army.mil or call 314-260-3905.

                                           Sincerely,
                                            WADE.JOSEPHINE.   Digitally signed by
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                                           Jo Anne Wade
                                           FUSRAP North County Project Manager
